      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 1 of 35 CLERK,
                                                                     Page    FILEDID #:1
                                                                           U.S. DISTRICT COURT


                                                                                 10/13/2021

                                                                                        DM
                                                                              CENTRAL DISTRICT OF CALIFORNIA


1
                                                                                BY: ___________________ DEPUTY




2

3

4

5

6

7

8                                UNITED STATES DISTRICT COURT

9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                   April 2021 Grand Jury

11   UNITED STATES OF AMERICA,                       CR 2:21-cr-00485-PA

12               Plaintiff,                          I N D I C T M E N T

13               v.                                  [18 U.S.C. § 371: Conspiracy;
                                                     18 U.S.C. §§ 666(a)(1)(B), (a)(2):
14   MARK RIDLEY-THOMAS and                          Bribery Concerning Programs
     MARILYN LOUISE FLYNN,                           Receiving Federal Funds; 18 U.S.C.
15                                                   §§ 1341, 1343, 1346: Honest
                 Defendants.                         Services Mail and Wire Fraud]
16

17

18        The Grand Jury charges:
19                                 INTRODUCTORY ALLEGATIONS
20        At times relevant to this Indictment:
21   A.   DEFENDANT MARK RIDLEY-THOMAS
22        1.     Defendant MARK RIDLEY-THOMAS was a public official employed
23   by the County of Los Angeles (“County”), within the Central District
24   of California.       Defendant RIDLEY-THOMAS was a member of the Los
25   Angeles County Board of Supervisors (“Board of Supervisors”) for the
26   Second District from approximately 2008 to 2020 and served as the
27   Chairman of the Board of Supervisors in or around 2017.                            The five-
28   member Board of Supervisors was the governing body of the County and
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 2 of 35 Page ID #:2



1    had executive, legislative, and quasi-judicial roles.           Members were

2    elected by voters in their respective districts and could serve up to

3    three four-year terms.

4         2.     As a public official employed by the County, defendant

5    RIDLEY-THOMAS owed a fiduciary duty to the citizens of the County to

6    perform the duties and responsibilities of his office free from bias,

7    conflicts of interest, self-enrichment, self-dealing, concealment,

8    deceit, fraud, kickbacks, and bribery.

9         3.     The County was a local government that received benefits in
10   excess of $10,000 under a Federal program involving a grant,
11   contract, subsidy, loan, guarantee, insurance, and other forms of
12   Federal assistance in each of the calendar years 2017 and 2018.
13   B.   MRT RELATIVE 1

14        4.     MRT Relative 1 was a close relative of defendant RIDLEY-

15   THOMAS and a member of the California State Assembly (“State

16   Assembly”) from approximately 2013 to on or about December 31, 2017.

17        5.     In or around the fall of 2017, MRT Relative 1 was the

18   subject of an internal sexual harassment investigation in the State

19   Assembly.   At least in or around November 2017, defendant RIDLEY-

20   THOMAS and MRT Relative 1 were aware of the investigation, which was

21   not public at the time, and knew that MRT Relative 1 would likely

22   resign from the State Assembly.       Around this time, defendant RIDLEY-

23   THOMAS and MRT Relative 1 sought to secure paid employment for MRT

24   Relative 1 following his/her abrupt departure from the State

25   Assembly.   With this paid employment, defendant RIDLEY-THOMAS and MRT

26   Relative 1 endeavored to provide a stable income to MRT Relative 1,

27   who was in debt tens of thousands of dollars, and also to minimize

28   any damage to MRT Relative 1’s and, in turn, defendant RIDLEY-

                                            2
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 3 of 35 Page ID #:3



1    THOMAS’s public images from MRT Relative 1’s sudden resignation from

2    elected office.

3         6.    In or around December 2017, MRT Relative 1 was planning to

4    become the new director of Nonprofit A.        Fiscal Sponsor A was

5    Nonprofit A’s fiscal sponsor.      A fiscal sponsor was an umbrella

6    organization that provided administrative support to smaller entities

7    and allowed them to operate under the sponsor’s tax-exempt, 501(c)(3)

8    status, but it did not provide funding to the entity.           Accordingly,

9    for MRT Relative 1 to receive compensation, obtain healthcare
10   benefits, and hire staff, MRT Relative 1 would have needed to raise
11   money for Nonprofit A’s operating funds.
12        7.    In or around December 2017, defendant RIDLEY-THOMAS paid
13   $100,000 in campaign funds to Fiscal Sponsor A for the benefit of
14   Nonprofit A.   At defendant RIDLEY-THOMAS’s instruction, on or about
15   December 7, 2017, a $100,000 check made payable to “[Fiscal Sponsor
16   A] fbo [Nonprofit A]” was sent to Fiscal Sponsor A from the Mark
17   Ridley-Thomas Committee for a Better L.A.        MRT Relative 1 was on
18   email correspondence regarding the funding.

19        8.    On or about January 30, 2018, Fiscal Sponsor A refunded the

20   $100,000 payment because it was concerned with, among other things,

21   the nepotistic optics of a politician donating campaign funds to

22   financially benefit his close relative.

23        9.    Following the refund of the $100,000 payment, MRT Relative

24   1 did not become Nonprofit A’s new director.         Instead, in or around

25   early 2018, MRT Relative 1 founded Nonprofit B.

26        10.   Fiscal Sponsor B became Nonprofit B’s fiscal sponsor.             As

27   with other fiscal sponsorships, in order for MRT Relative 1 to

28

                                            3
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 4 of 35 Page ID #:4



1    receive compensation, obtain healthcare benefits, and hire staff, MRT

2    Relative 1 needed to raise money for Nonprofit B’s operating funds.

3    C.   DEFENDANT MARILYN LOUISE FLYNN

4         11.   Defendant MARILYN LOUISE FLYNN was a tenured faculty member

5    at a university in Southern California (“University”) and dean of the

6    University’s School of Social Work (“Social Work School”) from

7    approximately 1997 to 2018.      On top of her substantial salary for her

8    tenured faculty position, defendant FLYNN earned additional

9    compensation tied to her role as dean, which equaled over sixty
10   percent of her tenured faculty salary.
11        12.   The University was a private research university in Los
12   Angeles, California.     The Social Work School and the University’s
13   School of Public Policy (“Public Policy School”) offered postgraduate
14   degrees in the fields of social work and public policy, respectively.
15   The University and the Social Work and Public Policy Schools were
16   located within the Second District when defendant RIDLEY-THOMAS was a
17   member of the Board of Supervisors for the Second District.
18        13.   Under defendant FLYNN’s leadership, the Social Work School

19   was facing a multimillion-dollar budget deficit in or around 2017 and

20   2018 that threatened the school’s viability, as well as defendant

21   FLYNN’s deanship and reputation within the field of social work.

22        14.   Defendant FLYNN was removed as dean of the Social Work

23   School in or around June 2018 and resigned from the University

24   altogether in or around September 2018.

25   D.   RELEVANT UNIVERSITY POLICIES

26        15.   University policy prohibited faculty members from being

27   candidates for degrees in the same department or program in which

28

                                            4
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 5 of 35 Page ID #:5



1    they simultaneously had a faculty appointment due to a potential

2    conflict of interest.

3         16.   University policy also prohibited donations from the

4    University where the donation recipient intended to use the donation

5    to hire staff and pay salary.      Defendant FLYNN was aware of this

6    policy.

7         17.   University policy required donation recipients to commit to

8    use all donated funds by the end of the University’s fiscal year or

9    else the entirety of the funds could not be released.           Defendant
10   FLYNN was aware of this policy.
11        18.   These Introductory Allegations are incorporated into each
12   count of this Indictment.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            5
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 6 of 35 Page ID #:6



1                                      COUNT ONE

2                                  [18 U.S.C. § 371]

3                                  [ALL DEFENDANTS]

4    A.   OBJECTS OF THE CONSPIRACY

5         19.   Beginning on a date unknown and continuing until in or

6    around August 2018, in Los Angeles County, within the Central

7    District of California, defendants MARK RIDLEY-THOMAS and MARILYN

8    LOUISE FLYNN conspired with each other, and others known and unknown

9    to the Grand Jury, to knowingly and intentionally commit offenses
10   against the United States, namely, bribery concerning programs
11   receiving federal funds, in violation of Title 18, United States
12   Code, Sections 666(a)(1)(B), (a)(2), and mail and wire fraud,
13   including through the deprivation of honest services of a County
14   official, in violation of Title 18, United States Code, Sections
15   1341, 1343, 1346.
16   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

17        ACCOMPLISHED

18        20.   The objects of the conspiracy were to be accomplished, in

19   substance, as follows:

20              a.   Defendant RIDLEY-THOMAS would solicit, demand, accept,

21   and agree to accept direct and indirect financial benefits from

22   defendant FLYNN and other University officials for the benefit of

23   defendant RIDLEY-THOMAS, MRT Relative 1, and others, in exchange for

24   official acts to benefit defendant FLYNN and the University.

25              b.   MRT Relative 1 would keep defendant RIDLEY-THOMAS

26   apprised of MRT Relative 1’s solicitations and demands in order for

27   defendant RIDLEY-THOMAS to exert pressure on defendant FLYNN and

28

                                            6
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 7 of 35 Page ID #:7



1    other University officials to comply with MRT Relative 1’s

2    solicitations and demands.

3              c.    In exchange for direct and indirect financial benefits

4    from defendant FLYNN and other University officials, defendant

5    RIDLEY-THOMAS would agree to perform and perform official acts,

6    including, among others, voting to issue and amend County contracts

7    with the University and Social Work School.

8              d.    In exchange for such official acts by defendant

9    RIDLEY-THOMAS, defendant FLYNN would give, offer, and agree to give
10   direct and indirect financial benefits to defendant RIDLEY-THOMAS,
11   MRT Relative 1, and others, including, but not limited to: (1)
12   admission to the University for MRT Relative 1 to obtain a master’s
13   degree; (2) a full tuition scholarship for MRT Relative 1 to attend
14   the University; (3) a paid professorship for MRT Relative 1 to teach
15   at the University while MRT Relative 1 was simultaneously a student;
16   and (4) a $100,000 payment from the University to Fiscal Sponsor B
17   for the benefit of Nonprofit B.
18             e.    Defendants RIDLEY-THOMAS and FLYNN and MRT Relative 1

19   would take steps to disguise, conceal, and cover up the bribes,

20   kickbacks, and other benefits defendant RIDLEY-THOMAS and MRT

21   Relative 1 received from defendant FLYNN and other University

22   officials, including by: (1) concealing the official acts defendant

23   RIDLEY-THOMAS agreed to perform and performed in exchange for direct

24   and indirect financial benefits from defendant FLYNN and other

25   University officials; (2) falsifying in a letter the nature and

26   purpose of the $100,000 payment from defendant RIDLEY-THOMAS to the

27   Social Work School; (3) providing false information to University

28   officials about the purpose and timing of the University’s $100,000

                                            7
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 8 of 35 Page ID #:8



1    payment to Nonprofit B; and (4) concealing material facts from

2    University officials about the purpose and timing of the University’s

3    $100,000 payment to Nonprofit B.

4    C.   OVERT ACTS

5         21.   In furtherance of the conspiracy and to accomplish the

6    objects of the conspiracy, on or about the following dates,

7    defendants RIDLEY-THOMAS and FLYNN, and others known and unknown to

8    the Grand Jury, committed and caused to be committed various overt

9    acts within the Central District of California, and elsewhere,
10   including the following:
11        University Admission and a Full Scholarship for MRT Relative 1
12        Overt Act No. 1:       On May 17, 2017, defendant RIDLEY-THOMAS

13   told defendant FLYNN that MRT Relative 1 was interested in obtaining

14   a postgraduate degree from the University.

15        Overt Act No. 2:       On May 18, 2017, MRT Relative 1 emailed

16   defendant FLYNN to request a meeting.

17        Overt Act No. 3:       On May 18, 2017, defendant FLYNN responded

18   via email to MRT Relative 1 and wrote, “I am glad to hear from you --

19   and so quickly!”    Defendant FLYNN told MRT Relative 1 to schedule a

20   meeting with her.

21        Overt Act No. 4:       On May 24, 2017, defendant FLYNN emailed a

22   University employee and told the employee to contact MRT Relative 1

23   “right away” to facilitate MRT Relative 1’s postgraduate work at the

24   University.   Defendant FLYNN wrote that MRT Relative 1 was “the

25   [close relative] of [defendant RIDLEY-THOMAS]” and that she

26   “intend[ed] to open every door for [MRT Relative 1][.]”

27        Overt Act No. 5:       On June 5, 2017, defendant FLYNN emailed

28   University officials to inform them that she was going to dinner with

                                            8
      Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 9 of 35 Page ID #:9



1    defendant RIDLEY-THOMAS and that there was the potential for

2    defendant RIDLEY-THOMAS to assist the Social Work School with various

3    County initiatives.     Defendant FLYNN wrote, “[t]here are significant

4    amounts of [C]ounty funds available[.]”

5         Overt Act No. 6:       On June 5, 2017, University Official 1

6    responded to defendant FLYNN’s June 5th email about having dinner

7    with defendant RIDLEY-THOMAS and wrote, “[defendant RIDLEY-THOMAS]

8    has lots of discretionary money” and “should give us $1M each year

9    for three years.”
10        Overt Act No. 7:       On June 5, 2017, defendant FLYNN replied to

11   University Official 1’s June 5th email and wrote that she and

12   University Official 2 were going to help MRT Relative 1 obtain a

13   joint master’s degree from the Social Work and Public Policy Schools.

14   Defendant FLYNN wrote that she and University Official 2 intended to

15   offer MRT Relative 1 “a full scholarship between [both schools].”

16   Defendant FLYNN characterized the exchange as a “full scholarship for

17   our [Social Work School] funds.”

18        Overt Act No. 8:       On June 23, 2017, defendant FLYNN met with

19   defendant RIDLEY-THOMAS and solicited official action from him as a

20   member of the Board of Supervisors.

21        Overt Act No. 9:       On July 23, 2017, defendant FLYNN caused a

22   confidential letter to be hand-delivered to defendant RIDLEY-THOMAS

23   (“hand-delivered letter”) in which she memorialized an agreement that

24   she and defendant RIDLEY-THOMAS had made during their June 23rd

25   meeting.   Defendant FLYNN wrote, “I am prepared to follow up on our

26   discussion in my office.”      Defendant FLYNN said, “I look forward to

27   working with [MRT Relative 1]” and will “take steps with [MRT

28   Relative 1] to plan the road ahead.”       Defendant FLYNN then outlined

                                            9
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 10 of 35 Page ID #:10



1    what she expected from defendant RIDLEY-THOMAS in exchange for her

2    efforts to benefit MRT Relative 1: (1) a new contract between the

3    University/Social Work School and the Los Angeles County Department

4    of Children and Family Services (“DCFS”); (2) a new contract between

5    the University/Social Work School and the Los Angeles County

6    Probation Department (“Probation”); and (3) an amendment to an

7    existing contract between the University/Social Work School and the

8    Los Angeles County Department of Mental Health (“DMH”) related to

9    services provided by University Telehealth (“Telehealth”), which was
10   a clinic where Social Work School students provided online mental
11   health and counseling services to patients referred by the County.
12               a.   In the hand-delivered letter, defendant FLYNN said
13   that she and defendant RIDLEY-THOMAS had discussed the “[b]locked
14   movement of [the University’s] Title IVe contract with DCFS[.]”
15   “Title IVe” referred to Title IV(e) of the Social Security Act, which
16   allowed the County to use federal funds to compensate schools of
17   social work, including the Social Work School, for training and other
18   services.    Defendant FLYNN told defendant RIDLEY-THOMAS that she

19   needed “[i]mmediate negotiation and [execution] of a 3-year contract

20   by DCFS and the University Consortium for Children and Families[.]”

21   Defendant FLYNN said that the “new contract...should contain

22   increased resources” and that the Social Work School had “[drawn] up

23   our budgets for the 2017-18 fiscal year” based on the expectation of

24   those increased resources.      Defendant FLYNN noted that the

25   “unprecedented lag” in securing a new contract was “particularly

26   problematic” for the University and Social Work School.

27               b.   In the hand-delivered letter, defendant FLYNN also

28   told defendant RIDLEY-THOMAS that she wanted a new “[Title] IVe

                                           10
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 11 of 35 Page ID #:11



1    contract” with Probation in which the University would be involved in

2    “parole office refurbishment and services.”         Defendant FLYNN said

3    that she would be meeting with County Official 1 “to discuss

4    development of a IVe contract with the Department of Probation.”              She

5    continued: “[The University] will need the help and cooperation of

6    DCFS and perhaps assurance that the Board of Supervisors would favor

7    this initiative.”

8               c.   In the hand-delivered letter, defendant FLYNN told

9    defendant RIDLEY-THOMAS that she needed a “contract amendment” for
10   the Telehealth-DMH contract to expand its scope and capacity, and
11   that “[t]hese two actions are now essential to solidify the
12   functionality of Telehealth.”
13        Overt Act No. 10:      On July 26, 2017, defendant FLYNN told MRT

14   Relative 1 that he/she would receive a full tuition scholarship to

15   pursue a joint master’s degree from the Social Work and Public Policy

16   Schools.

17        Overt Act No. 11:      In July 2017, defendant FLYNN began working

18   with University officials to ensure that MRT Relative 1 would receive

19   a joint master’s degree from the Social Work and Public Policy

20   Schools with a full tuition scholarship.

21        Overt Act No. 12:      On July 26, 2017, defendant FLYNN told a

22   University employee that there was a “specific and very rigid

23   sequence of courses alternating between [the Social Work School] and

24   [the Public Policy School] that [had] to be followed.”           To

25   accommodate MRT Relative 1’s preferences and schedule, defendant

26   FLYNN told the employee to “tackle this enigma” in order to ensure

27   that MRT Relative 1 could receive a joint master’s degree without

28   adhering to the standard sequence of coursework.

                                           11
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 12 of 35 Page ID #:12



1         Overt Act No. 13:      In July 2017, defendant FLYNN began working

2    with University officials to ensure that MRT Relative 1 could attend

3    University classes online.      Defendant FLYNN understood that MRT

4    Relative 1 preferred to attend classes online and endeavored to have

5    an entire online curriculum, which had never existed previously for

6    this program, developed to accommodate MRT Relative 1.

7         Overt Act No. 14:      In July 2017, defendant RIDLEY-THOMAS

8    presented a motion, Item No. 16 on the Board of Supervisors’ August

9    1, 2017 agenda, recommending “a memorandum of understanding to
10   establish a partnership with [the Social Work School] to enhance
11   services[.]”
12        Overt Act No. 15:      On July 30, 2017, upon receiving an email

13   from a University employee about Item No. 16 on the Board of

14   Supervisors’ August 1, 2017 agenda, which would establish a

15   partnership between the County and Social Work School, defendant

16   FLYNN replied: “Yes, I talked with [defendant RIDLEY-THOMAS] about

17   this, and I am very happy to see that [defendant RIDLEY-THOMAS] was

18   as good as his word.”

19        Overt Act No. 16:      On August 1, 2017, defendant RIDLEY-THOMAS

20   voted in favor of Item No. 16, which passed.

21        Overt Act No. 17:      In October 2017, defendant RIDLEY-THOMAS

22   presented a motion, Item No. 3 on the Board of Supervisors’ October

23   17, 2017 agenda, relating to “Probation University.”          Probation

24   University was a concept whereby an outside university, such as the

25   Social Work School, would help train Probation employees and, in

26   return, receive compensation for providing those services.

27        Overt Act No. 18:      On October 12, 2017, upon receiving an email

28   from a University employee about Item No. 3 on the Board of

                                           12
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 13 of 35 Page ID #:13



1    Supervisors’ October 17, 2017 agenda, which could lead to additional

2    compensation for the Social Work School, defendant FLYNN replied: “I

3    am holding my breath...[defendant RIDLEY-THOMAS] is really trying to

4    deliver here.”

5         Overt Act No. 19:      On October 17, 2017, defendant RIDLEY-THOMAS

6    voted in favor of Item No. 3, which passed.

7         Overt Act No. 20:      On October 17, 2017, upon learning that Item

8    No. 3 had passed, defendant FLYNN emailed a University employee: “I

9    am THRILLED!”
10        The Paid Professorship for MRT Relative 1

11        Overt Act No. 21:      In the fall of 2017, defendant RIDLEY-THOMAS

12   and MRT Relative 1 began soliciting from defendant FLYNN and other

13   University officials a paid professorship for MRT Relative 1 to teach

14   at the University.

15        Overt Act No. 22:      While soliciting the paid professorship for

16   MRT Relative 1, defendant RIDLEY-THOMAS and MRT Relative 1 concealed

17   from University officials that MRT Relative 1 was the subject of a

18   sexual harassment investigation and that MRT Relative 1 might resign

19   from the State Assembly.

20        Overt Act No. 23:      On December 4, 2017, when MRT Relative 1 was

21   a Member of the State Assembly representing a district in Los Angeles

22   and the subject of a sexual harassment investigation, defendant

23   RIDLEY-THOMAS received an email from MRT Relative 1 about a press

24   release regarding a sexual harassment investigation of a fellow

25   Member of the State Assembly.      MRT Relative 1 said, “rumors are

26   another Los Angeles Legislator is next[.]”

27        Overt Act No. 24:      On December 5, 2017, defendant RIDLEY-THOMAS

28   was blind carbon copied (“bcc’ed”) on an email MRT Relative 1 sent to

                                           13
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 14 of 35 Page ID #:14



1    University Official 2.     MRT Relative 1 told University Official 2

2    that he/she wanted a “Practioner-in-Residence” title for his/her

3    professorship, “beginning compensation” in the range of $25,000, and

4    to “launch in January [2018].”

5         Overt Act No. 25:      On December 9, 2017, at approximately 11:17

6    a.m., defendant RIDLEY-THOMAS received a forwarded email from MRT

7    Relative 1.    The forwarded email was sent at approximately 10:21 a.m.

8    from University Official 2 in response to MRT Relative 1’s December

9    5th email.    University Official 2 told MRT Relative 1 that a January
10   2018 start date was not feasible and that University Official 2 would
11   have to “create a part-time position with a salary” to accommodate
12   MRT Relative 1, which University Official 2 had not been
13   anticipating.
14        Overt Act No. 26:      On December 9, 2017, at approximately 11:58

15   a.m., defendant RIDLEY-THOMAS emailed MRT Relative 1 the link to a

16   blog article suggesting that MRT Relative 1 may be “the Next #MeToo

17   to Go,” meaning to be forced out of the State Assembly on account of

18   a sexual harassment scandal.

19        Overt Act No. 27:      On December 11, 2017, defendant FLYNN

20   received an email from MRT Relative 1, who bcc’ed defendant RIDLEY-

21   THOMAS.   MRT Relative 1 told defendant FLYNN that he/she wanted to

22   “follow up on a couple things” and provided his/her phone number.

23        Overt Act No. 28:      On December 14, 2017, defendant RIDLEY-

24   THOMAS emailed defendant FLYNN.       The subject line had the name of

25   County Official 2, who was a high-level public official in a position

26   to help defendant FLYNN secure a lucrative amendment to the

27   Telehealth-DMH contract from the County.        The email said: “[He/She]’s

28   ready to go.      [winking face emoji][.]”

                                           14
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 15 of 35 Page ID #:15



1         Overt Act No. 29:      In or around 2017 and 2018, defendant

2    RIDLEY-THOMAS advocated for and exerted pressure on County Official 2

3    to perform official acts favorable to the Telehealth-DMH contract.

4         Overt Act No. 30:      On December 14, 2017, within approximately

5    one hour of receiving defendant RIDLEY-THOMAS’s email saying that

6    County Official 2 was “ready to go,” defendant FLYNN emailed multiple

7    University officials and MRT Relative 1 to expedite MRT Relative 1’s

8    enrollment at the University and full tuition scholarship.           In the

9    email, defendant FLYNN instructed that MRT Relative 1’s admission to
10   the University should be given the “highest priority.”           In spite of
11   the Social Work School’s multimillion-dollar budget deficit,
12   defendant FLYNN agreed to “tap our endowed funds” so that the Social
13   Work School could “pay[] all of [MRT Relative 1’s] tuition costs
14   through a scholarship award.”      Defendant FLYNN urged University
15   officials to move quickly to “wind this up before we all leave for
16   the holidays.”    Defendant FLYNN further noted that MRT Relative 1
17   “will be the first to attempt a joint degree through the [Virtual
18   Academic Center], combining social work and the Master’s in Public

19   Administration from [the Public Policy School]” and that “[the Public

20   Policy School] is still building their online degree and won’t have

21   courses available for several months for the MPA.”

22        Overt Act No. 31:      On December 15, 2017, after receiving

23   defendant RIDLEY-THOMAS’s December 14th email that County Official 2

24   was “ready to go,” defendant FLYNN sent an email to University

25   Official 2 to expedite MRT Relative 1’s paid professorship.            Flagging

26   the email as “URGENT,” defendant FLYNN insisted that University

27   Official 2 “get the offer letter out before the holidays” to MRT

28

                                           15
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 16 of 35 Page ID #:16



1    Relative 1 “in the interests of showing MRT [defendant RIDLEY-THOMAS]

2    that we can deliver.”

3         Overt Act No. 32:      In or around 2017 and 2018, defendant FLYNN

4    sought University admission for MRT Relative 1 to obtain a joint

5    degree from the Social Work and Public Policy Schools and, at the

6    same time, a paid professorship for MRT Relative 1 to teach at the

7    Social Work and Public Policy Schools, even though MRT Relative 1’s

8    dual student-faculty status would violate University policy.

9         Overt Act No. 33:      On January 4, 2018, defendant RIDLEY-THOMAS
10   received an email from MRT Relative 1 that contained an accounting of

11   MRT Relative 1’s significant debt.

12        Overt Act No. 34:      On January 5, 2018, defendant RIDLEY-THOMAS

13   emailed defendant FLYNN and asked her to call him.

14        Overt Act No. 35:      On January 7, 2018, defendant RIDLEY-THOMAS

15   received an email from MRT Relative 1 regarding MRT Relative 1’s

16   anticipated University employment and personal finances.           With

17   respect to the Social Work and Public Policy Schools, MRT Relative 1

18   stated that he/she was “await[ing] [defendant RIDLEY-THOMAS’s]

19   conversation with [defendant FLYNN] and [University Official 2]” for

20   a “check-in.”

21        Overt Act No. 36:      On January 9, 2018, defendant FLYNN caused

22   MRT Relative 1 to be awarded a “full tuition scholarship,” totaling

23   over $26,000 in paid tuition from the Social Work School for the

24   spring and summer of 2018.

25        Overt Act No. 37:      On January 9, 2018, defendant RIDLEY-THOMAS

26   received from MRT Relative 1 a forwarded email dated January 9, 2018

27   about the full tuition scholarship award.

28

                                           16
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 17 of 35 Page ID #:17



1         Overt Act No. 38:      On February 13, 2018, defendant FLYNN caused

2    MRT Relative 1 to receive an email informing him/her that the

3    University had agreed to waive the usual hiring process and that

4    he/she would soon receive a contract for the paid professorship.

5         Overt Act No. 39:      On February 13, 2018, defendant RIDLEY-

6    THOMAS received from MRT Relative 1 a forwarded email dated February

7    13, 2018 about the paid professorship.

8         Overt Act No. 40:      On February 13, 2018, defendant RIDLEY-

9    THOMAS responded via email to MRT Relative 1 about the paid
10   professorship with thumbs up and winking face emojis: “                [.]”
11        Overt Act No. 41:      On February 13, 2018, after learning that

12   same day that the usual hiring process had been waived and MRT

13   Relative 1 would be offered the paid professorship, defendant RIDLEY-

14   THOMAS emailed defendant FLYNN.       The subject line was “Probation

15   Reform motion.”    Defendant RIDLEY-THOMAS wrote, “[w]ould like to

16   discuss this with you in the near term.”

17        Overt Act No. 42:      On February 13, 2018, defendant FLYNN

18   responded to defendant RIDLEY-THOMAS’s “Probation Reform motion”

19   email.   Defendant FLYNN wrote that she had “an excellent meeting last

20   night with [County Official 2] and [County Official 3],” who were two

21   high-ranking public officials in a position to help defendant FLYNN

22   obtain a lucrative amendment to the Telehealth-DMH contract and

23   secure the Probation contract with the Social Work School.           Defendant

24   FLYNN stated that she was ”very encouraged” and thanked defendant

25   RIDLEY-THOMAS “for facilitating all these important relationships and

26   opportunities.”

27        Overt Act No. 43:      On February 23, 2018, defendant FLYNN

28   emailed defendant RIDLEY-THOMAS about “an extremely important request

                                           17
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 18 of 35 Page ID #:18



1    for contract amendment that will be on the [Board of Supervisors’]

2    agenda next week” regarding “our TeleHealth contract with DMH.”

3         Overt Act No. 44:      On February 23, 2018, defendant RIDLEY-

4    THOMAS responded to defendant FLYNN’s “extremely important request”

5    email regarding the Telehealth contract amendment and bcc’ed MRT

6    Relative 1.   Defendant RIDLEY-THOMAS told defendant FLYNN: “Your wish

7    is my command.”

8         Overt Act No. 45:      On March 9, 2018, defendant FLYNN caused a

9    University employee to mail an offer letter, dated February 16, 2018,
10   to MRT Relative 1 for the paid professorship.         In the letter, the
11   University formally offered MRT Relative 1 the position of “Professor
12   of the Practice of Policy and Social Work,” beginning on March 16,
13   2018 and continuing until May 15, 2019.        The offer letter stated that
14   MRT Relative 1 would receive a salary of $50,000, of which the Social
15   Work School and Public Policy School would each fund half.
16        Overt Act No. 46:      On March 10, 2018, defendant FLYNN caused

17   her plan to secure MRT Relative 1 a paid professorship with the

18   University to be achieved, as MRT Relative 1 signed the offer letter

19   for the paid professorship.

20        The $100,000 Payment for the Benefit of MRT Relative 1

21        Overt Act No. 47:      In or around early to mid-2018, defendant

22   RIDLEY-THOMAS and MRT Relative 1 considered hiring Individual 1 to

23   work for Nonprofit B.     Defendant RIDLEY-THOMAS and MRT Relative 1

24   were aware that MRT Relative 1 needed to raise money for Nonprofit B,

25   not just for MRT Relative 1 to receive a salary, but also to allow

26   MRT Relative 1 to formally hire and compensate Individual 1.

27        Overt Act No. 48:      In or around early to mid-2018, defendant

28   RIDLEY-THOMAS and MRT Relative 1 agreed that Individual 1 would begin

                                           18
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 19 of 35 Page ID #:19



1    full-time employment with Nonprofit B in May 2018 and be paid on the

2    “15th of every month.”

3         Overt Act No. 49:      On April 20, 2018, defendant RIDLEY-THOMAS

4    emailed defendant FLYNN and asked her to call him.

5         Overt Act No. 50:      On April 21, 2018, defendant FLYNN responded

6    to defendant RIDLEY-THOMAS’s April 20th email and said, “[w]ill

7    certainly do so.”

8         Overt Act No. 51:      On April 26, 2018, defendant FLYNN met with

9    defendant RIDLEY-THOMAS, solicited official action from him as a
10   member of the Board of Supervisors, and discussed a “gift agreement”
11   with him.
12        Overt Act No. 52:      On April 26, 2018, defendant RIDLEY-THOMAS

13   emailed Individual 1’s resume, which he had received from MRT

14   Relative 1, to defendant FLYNN and wrote: “As discussed.           Thank you.”

15        Overt Act No. 53:      In 2018, defendant FLYNN told multiple

16   University officials that the Social Work School needed to obtain the

17   amended Telehealth-DMH contract from the County, which she expected

18   to generate approximately $9 million per year for the Social Work

19   School.

20        Overt Act No. 54:      On April 26, 2018, at defendant RIDLEY-

21   THOMAS’s request, defendant FLYNN agreed to funnel a $100,000 payment

22   from the Mark Ridley-Thomas Committee for a Better L.A. through the

23   University/Social Work School to Fiscal Sponsor B for the benefit of

24   Nonprofit B and, in turn, MRT Relative 1.

25        Overt Act No. 55:      Beginning in late April 2018, defendants

26   RIDLEY-THOMAS and FLYNN and MRT Relative 1 concealed the agreement to

27   funnel $100,000 from the Mark Ridley-Thomas Committee for a Better

28   L.A. through the University/Social Work School to Fiscal Sponsor B

                                           19
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 20 of 35 Page ID #:20



1    from University officials, Fiscal Sponsor B officials, and the public

2    in order to ensure the success of the University’s payment to Fiscal

3    Sponsor B and avoid any political fallout for defendant RIDLEY-

4    THOMAS.

5         Overt Act No. 56:      Around the time of defendant FLYNN’s April

6    26th solicitation meeting with defendant RIDLEY-THOMAS, defendant

7    FLYNN told University Official 3 something to the effect that

8    defendant FLYNN had good news, in that the University was going to

9    get the Telehealth contract, but that defendant FLYNN had to do a
10   “favor” to get it.    Defendant FLYNN winked at University Official 3
11   when she talked about doing a “favor” in exchange for the Telehealth
12   contract.
13        Overt Act No. 57:      On April 27, 2018, MRT Relative 1 falsely

14   told at least one Fiscal Sponsor B employee that the University had

15   awarded Nonprofit B a “grant,” thereby furthering efforts by

16   defendants RIDLEY-THOMAS and FLYNN to conceal the true nature of the

17   funneled $100,000 payment from the Mark Ridley-Thomas Committee for a

18   Better L.A. through the University to Fiscal Sponsor B.

19        Overt Act No. 58:      On May 2, 2018, defendant RIDLEY-THOMAS

20   caused a letter and $100,000 check to be sent to defendant FLYNN.

21   The check was made payable to the Social Work School from the Mark

22   Ridley-Thomas Committee for a Better L.A.        The letter stated that the

23   $100,000 was to be used at defendant FLYNN’s “discretion in order to

24   best facilitate the impressive policy and practical work of the

25   [Social Work School] and its impact in the community.”

26        Overt Act No. 59:      On May 3, 2018, at approximately 9:20 p.m.,

27   defendant RIDLEY-THOMAS received an email from MRT Relative 1 with

28

                                           20
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 21 of 35 Page ID #:21



1    bank wiring information for Fiscal Sponsor B in order to facilitate

2    the $100,000 payment from the University to Fiscal Sponsor B.

3         Overt Act No. 60:      On May 3, 2018, at approximately 10:20 p.m.,

4    defendant RIDLEY-THOMAS emailed defendant FLYNN the bank wiring

5    information for Fiscal Sponsor B to facilitate the $100,000 payment

6    from the University to Fiscal Sponsor B.        Defendant RIDLEY-THOMAS

7    bcc’ed MRT Relative 1 and told defendant FLYNN: “At this point it is

8    necessary to act with dispatch so as to facilitate the completion of

9    [Individual 1’s] on-boarding with [Fiscal Sponsor B] in a timely
10   manner -- no later than May 15th.”
11        Overt Act No. 61:      On May 3, 2018, at approximately 10:27 p.m.,

12   defendant FLYNN responded to defendant RIDLEY-THOMAS’s 10:20 p.m.

13   email.   Defendant FLYNN wrote: “If that is the case, then we

14   definitely cannot use the option of a university appointment, at

15   least this year.    However, I will adopt another course of action

16   tomorrow morning and assume the person we are to contact is [Fiscal

17   Sponsor B Employee 1].     I will let people know that this must be

18   expedited.”

19        Overt Act No. 62:      On May 3, 2018, at approximately 10:35 p.m.,

20   defendant FLYNN emailed University officials to facilitate the

21   $100,000 payment from the University/Social Work School to Fiscal

22   Sponsor B.    Defendant FLYNN said: “I will explain later, but it is

23   urgent that we issue a sponsorship to [Fiscal Sponsor B] for $100,000

24   and that it be received by May 15th if at all possible.”

25        Overt Act No. 63:      On May 4, 2018, at approximately 8:16 a.m.,

26   defendant FLYNN emailed defendant RIDLEY-THOMAS with an update

27   regarding the $100,000 payment from the University to Fiscal Sponsor

28   B.   Defendant FLYNN wrote: “Part of the issue here is that the

                                           21
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 22 of 35 Page ID #:22



1    sponsorship will have to move through the university payroll office

2    over which we have very little control.        I can guarantee that we will

3    fulfill our part of the transaction today, but can only nag and nip

4    at people’s heels at the higher administration levels.           If May 15th

5    is a drop dead date, then I will need to understand a little more so

6    that I can figure out what to do about bridge funds.          (I actually

7    have an idea already.)”

8         Overt Act No. 64:      On May 4, 2018, at approximately 11:39 a.m.,

9    defendant RIDLEY-THOMAS responded to defendant FLYNN’s 8:16 a.m.
10   email and said: “I have spoken with [Fiscal Sponsor B Employee 2],
11   fiscal agent for [Nonprofit B].       Please call [him/her] and assure
12   [him/her] of the School’s commitment and that you have begun the
13   funds transfer...Please confirm receipt and keep me in the loop.
14   [shushing face emoji][.]”
15        Overt Act No. 65:      On May 4, 2018, at approximately 12:03 p.m.,

16   defendant RIDLEY-THOMAS received an email from MRT Relative 1

17   containing the offer letter previously sent to Individual 1 for

18   Individual 1’s employment with Nonprofit B.

19        Overt Act No. 66:      On May 4, 2018, at approximately 12:29 p.m.,

20   defendant RIDLEY-THOMAS emailed Fiscal Sponsor B Employee 2 the news

21   that Individual 1 had accepted an offer of employment with a salary

22   of $70,000.   Defendant RIDLEY-THOMAS wrote: “It is my understanding

23   that [University] financial support comes in at $100k.”

24        Overt Act No. 67:      On May 4, 2018, at approximately 12:50 p.m.,

25   defendant FLYNN responded to defendant RIDLEY-THOMAS’s 11:39 a.m.

26   email.   Defendant FLYNN wrote: “I am happy to say that I think we can

27   expedite this so that the funds are available by May 18th...I think

28   the path looks clear.”

                                           22
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 23 of 35 Page ID #:23



1         Overt Act No. 68:      On May 4, 2018, at approximately 2:06 p.m.,

2    defendant RIDLEY-THOMAS responded to defendant FLYNN’s 12:50 p.m.

3    email: “You’re the best!”

4         Overt Act No. 69:      On May 4, 2018, at approximately 2:57 p.m.,

5    defendant FLYNN sent defendant RIDLEY-THOMAS an email with the

6    subject line “On its way.”      In the email, defendant FLYNN provided

7    defendant RIDLEY-THOMAS an update on the status of the $100,000

8    payment and said: “I communicated with [Fiscal Sponsor B Employee 1]

9    at [Fiscal Sponsor B] this afternoon, sent [him/her] a template for
10   the invoice we need, [he/she] prepared an invoice to the [Social Work
11   School] on that basis, I confirmed with our business office that the
12   template was proper, and once we confirm vendor information, we will
13   process the [$100,000] payment...perhaps this afternoon.           We will
14   track it through the [U]niversity and as far as I know, payment
15   should be received by May 18th.”
16        Overt Act No. 70:      On May 4, 2018, at approximately 3:25 p.m.,

17   defendant RIDLEY-THOMAS responded to defendant FLYNN’s 2:57 p.m.

18   email: “I repeat: You’re the best!!!”

19        Overt Act No. 71:      During the time defendant FLYNN was ensuring

20   that Nonprofit B received the $100,000 payment from the University at

21   defendant RIDLEY-THOMAS’s request, defendant FLYNN concealed from

22   University officials that Fiscal Sponsor B, Nonprofit B, and MRT

23   Relative 1 intended to use the $100,000, at least in part, to hire

24   and compensate Individual 1, which violated University policy.

25        Overt Act No. 72:      In early May 2018, in order to ensure the

26   successful transfer of the entire $100,000 payment to Nonprofit B,

27   defendant FLYNN falsely told University officials that Fiscal Sponsor

28   B intended to expend the entire $100,000 payment by June 30, 2018

                                           23
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 24 of 35 Page ID #:24



1    (the end of the University’s fiscal year), even though defendant

2    FLYNN knew that Fiscal Sponsor B, Nonprofit B, and MRT Relative 1

3    intended to use the $100,000, at least in part, as salary for

4    Individual 1 and that the $100,000 would not be expended in its

5    entirety by June 30, 2018.

6         Overt Act No. 73:      On May 4, 2018, defendant FLYNN, in order to

7    ensure the successful transfer of the $100,000 payment to Nonprofit

8    B, falsely told Fiscal Sponsor B Employee 1 to write on the invoice

9    to the University that Fiscal Sponsor B intended to use the $100,000
10   to fund a survey and that the $100,000 would be expended prior to
11   June 30, 2018.
12        Overt Act No. 74:      On or after May 4, 2018, defendant FLYNN

13   signed and approved the false Fiscal Sponsor B invoice to facilitate

14   the $100,000 payment from the University to Fiscal Sponsor B.

15        Overt Act No. 75:      On May 8, 2018, defendant FLYNN emailed

16   defendant RIDLEY-THOMAS and said that the $100,000 payment to Fiscal

17   Sponsor B would arrive on Monday, May 14, 2018.

18        Overt Act No. 76:      On May 9, 2018, defendant FLYNN caused a

19   $100,000 check to be mailed from the University to Fiscal Sponsor B.

20        Overt Act No. 77:      On May 10, 2018, defendant FLYNN met with

21   County Official 2 “to get an update on the timing of renegotiation

22   for our TeleHealth contract.”

23        Overt Act No. 78:      On May 10, 2018, at approximately 3:49 p.m.,

24   defendant RIDLEY-THOMAS received an email from Fiscal Sponsor B

25   Employee 2 confirming that Individual 1 would be offered employment

26   by Fiscal Sponsor B/Nonprofit B.

27        Overt Act No. 79:      On May 10, 2018, at approximately 4:05 p.m.,

28   defendant RIDLEY-THOMAS forwarded the 3:49 p.m. email from Fiscal

                                           24
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 25 of 35 Page ID #:25



1    Sponsor B Employee 2 to MRT Relative 1.        Defendant RIDLEY-THOMAS

2    said: “My piece is done.        [fist bump emoji][.]”

3         Overt Act No. 80:      On May 10, 2018, at approximately 9:56 p.m.,

4    defendant RIDLEY-THOMAS emailed defendant FLYNN, bcc’ed MRT Relative

5    1, and wrote: “Need to debrief and clear up a few things with you

6    confidentially.”

7         Overt Act No. 81:      On May 11, 2018, at approximately 6:21 a.m.,

8    defendant FLYNN responded to defendant RIDLEY-THOMAS’s May 10th email

9    and wrote: “I’m sorry I missed you” and “[y]ou have my cell phone
10   number.”
11        Overt Act No. 82:      On May 11, 2018, at approximately 6:58 a.m.,

12   defendant RIDLEY-THOMAS responded to defendant FLYNN’s 6:21 a.m.

13   email and wrote: “Want to talk master [County] contract stuff and

14   somehow use yesterday’s ‘discussion’ to advance it.            [winking face

15   emoji][.]”

16        Overt Act No. 83:      On May 11, 2018, defendants RIDLEY-THOMAS

17   and FLYNN caused the University to deposit the $100,000 check from

18   the Mark Ridley-Thomas Committee for a Better L.A. by means of an

19   interstate wire transmission.

20        Overt Act No. 84:      On May 24, 2018, defendants RIDLEY-THOMAS

21   and FLYNN caused Fiscal Sponsor B to deposit the $100,000 check from

22   the University by means of an interstate wire transmission.

23        Overt Act No. 85:      In or around June 2018, in an effort to

24   ensure the continued success of her agreement with defendant RIDLEY-

25   THOMAS in exchange for the $100,000 payment following her removal as

26   dean, defendant FLYNN told University Official 3 that she had made a

27   “deal” or “arrangement” with defendant RIDLEY-THOMAS and MRT Relative

28

                                           25
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 26 of 35 Page ID #:26



1    1 and that, at some point, she would need to tell University Official

2    3 about the deal.

3         Overt Act No. 86:      On July 31, 2018, defendant RIDLEY-THOMAS

4    voted in favor of Item No. 27 on the Board of Supervisors’ July 31,

5    2018 agenda, which was a favorable amendment to the University’s

6    Telehealth agreement with the County that would sustain the program

7    for an additional year and was consistent with the terms defendant

8    FLYNN requested in her February 23, 2018 email to defendant RIDLEY-

9    THOMAS.   The motion passed.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           26
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 27 of 35 Page ID #:27



1                                      COUNT TWO

2                            [18 U.S.C. § 666(a)(1)(B)]

3                          [DEFENDANT MARK RIDLEY-THOMAS]

4         22.   Beginning on a date unknown and continuing until in or

5    around August 2018, in Los Angeles County, within the Central

6    District of California, and elsewhere, defendant MARK RIDLEY-THOMAS,

7    an agent of the County of Los Angeles, corruptly solicited, demanded,

8    accepted, and agreed to accept something of value from a person to

9    benefit himself and others, intending to be influenced and rewarded
10   in connection with a business, transaction, and series of
11   transactions of the County of Los Angeles having a value of $5,000 or
12   more.   Specifically, defendant RIDLEY-THOMAS solicited, demanded,
13   accepted, and agreed to accept something of value from Marilyn Louise
14   Flynn and other University officials to benefit himself and MRT
15   Relative 1, including: (1) MRT Relative 1’s admission to the
16   University to obtain a master’s degree; (2) a full tuition
17   scholarship for MRT Relative 1 to attend the University; (3) a paid
18   professorship for MRT Relative 1 to teach at the University; and (4)

19   a $100,000 payment from the University to Fiscal Sponsor B for the

20   benefit of Nonprofit B and MRT Relative 1, intending to be influenced

21   and rewarded in connection with, among other things, the issuance of,

22   and amendment to, County contracts with the University and Social

23   Work School.

24

25

26

27

28

                                           27
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 28 of 35 Page ID #:28



1                                     COUNT THREE

2                              [18 U.S.C. § 666(a)(2)]

3                         [DEFENDANT MARILYN LOUISE FLYNN]

4         23.   Beginning on a date unknown and continuing until in or

5    around August 2018, in Los Angeles County, within the Central

6    District of California, and elsewhere, defendant MARILYN LOUISE FLYNN

7    corruptly gave, offered, and agreed to give something of value to a

8    person, intending to influence and reward Mark Ridley-Thomas in

9    connection with a business, transaction, and series of transactions
10   of the County of Los Angeles having a value of $5,000 or more.
11   Specifically, defendant FLYNN gave, offered, and agreed to give
12   something of value to Mark Ridley-Thomas and MRT Relative 1,
13   including: (1) MRT Relative 1’s admission to the University to obtain
14   a master’s degree; (2) a full tuition scholarship for MRT Relative 1
15   to attend the University; (3) a paid professorship for MRT Relative 1
16   to teach at the University; and (4) a $100,000 payment from the
17   University to Fiscal Sponsor B for the benefit of Nonprofit B and MRT
18   Relative 1, intending to influence and reward Mark Ridley-Thomas in

19   connection with, among other things, the issuance of, and amendment

20   to, County contracts with the University and Social Work School.

21

22

23

24

25

26

27

28

                                           28
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 29 of 35 Page ID #:29



1                            COUNTS FOUR THROUGH TWENTY

2                      [18 U.S.C. §§ 1341, 1343, 1346, 2(b)]

3                                  [ALL DEFENDANTS]

4    A.   THE SCHEME TO DEFRAUD

5         24.   Beginning in or around 2017, and continuing until in or

6    around August 2018, in Los Angeles County, within the Central

7    District of California, and elsewhere, defendants MARK RIDLEY-THOMAS

8    and MARILYN LOUISE FLYNN, together with others known and unknown to

9    the Grand Jury, knowingly and with intent to defraud, devised,
10   participated in, and executed a scheme to defraud the citizens of the
11   County of Los Angeles of their right to the honest services of
12   defendant RIDLEY-THOMAS by means of bribery, kickbacks, materially
13   false and fraudulent pretenses, and the concealment of material
14   facts.
15   B.   MEANS AND METHODS OF THE SCHEME TO DEFRAUD

16        25.   The scheme to defraud operated, in substance, in the

17   following manner and by the following means:

18              a.   Defendant RIDLEY-THOMAS and his co-schemers would seek

19   and accept bribes and kickbacks from defendant FLYNN and other

20   University officials in the form of direct and indirect financial

21   benefits, including but not limited to: (1) MRT Relative 1’s

22   admission to the University to obtain a master’s degree; (2) a full

23   tuition scholarship for MRT Relative 1 to attend the University;

24   (3) a paid professorship for MRT Relative 1 to teach at the

25   University; and (4) a $100,000 payment from the University to Fiscal

26   Sponsor B for the benefit of Nonprofit B and MRT Relative 1.

27

28

                                           29
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 30 of 35 Page ID #:30



1               b.   In exchange for the bribes and kickbacks from

2    defendant FLYNN and other co-schemers, defendant RIDLEY-THOMAS would

3    agree to perform and perform the following types of official acts,

4    among others: (1) presenting motions and agenda items for the Board

5    of Supervisors; (2) voting on Board of Supervisors’ motions and

6    agenda items; (3) exerting pressure on other members of the Board of

7    Supervisors to present, introduce, and vote on motions and agenda

8    items; and (4) exerting pressure on other County officials to perform

9    official acts with respect to the issuance of, and amendment to,
10   County contracts with the University and Social Work School.
11              c.   Defendants RIDLEY-THOMAS and FLYNN and their co-
12   schemers would conceal their scheme and operate their scheme through
13   materially false and fraudulent pretenses by: (1) concealing bribes
14   and kickbacks solicited and received by defendant RIDLEY-THOMAS;
15   (2) concealing bribes and kickbacks offered and given by defendant
16   FLYNN and other University officials at defendant FLYNN’s direction;
17   (3) concealing material facts, including but not limited to: (a) that
18   defendants RIDLEY-THOMAS and FLYNN had agreed to funnel the $100,000

19   payment from the Mark Ridley-Thomas Committee for a Better L.A.

20   through the University by way of a nearly simultaneous $100,000

21   payment from the University to Fiscal Sponsor B; and (b) that Fiscal

22   Sponsor B, Nonprofit B, and MRT Relative 1 intended to use the

23   $100,000, at least in part, to hire and compensate Individual 1; and

24   (4) making materially false statements, including but not limited to

25   the date by which Fiscal Sponsor B intended to expend the entirety of

26   the $100,000 payment.

27

28

                                           30
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 31 of 35 Page ID #:31



1    C.     USE OF MAILS

2           26.   On or about the dates set forth below, within the Central

3    District of California, and elsewhere, defendants RIDLEY-THOMAS and

4    FLYNN, for the purpose of executing the above-described scheme to

5    defraud, willfully caused the following items to be placed in an

6    authorized depository for mail matter to be sent and delivered by the

7    United States Postal Service, or to be deposited to be sent and

8    delivered by a private or commercial interstate carrier according to

9    the directions thereon:
10   COUNT          DATE                MAILING
11   FOUR           March 9, 2018       Letter dated February 16, 2018,
                                        addressed to MRT Relative 1 from
12                                      defendant FLYNN and University
                                        Official 2, offering MRT Relative 1
13
                                        the position of “Professor of the
14                                      Practice of Policy and Social Work,”
                                        which was sent via FedEx.
15
     FIVE           May 9, 2018         Check no. 50587154 dated May 9, 2018,
16                                      in the amount of $100,000 from the
                                        University to Fiscal Sponsor B, which
17
                                        was sent via FedEx.
18

19   D.     USE OF WIRES

20          27.   On or about the dates set forth below, within the Central

21   District of California, and elsewhere, defendants RIDLEY-THOMAS and

22   FLYNN, for the purpose of executing the above-described scheme to

23   defraud, transmitted and caused the transmission of the following

24   items by means of a wire communication in interstate commerce:

25   COUNT          DATE                WIRE TRANSMISSION

26   SIX            December 5, 2017    MRT Relative 1 emailed University
                                        Official 2 and bcc’ed defendant
27                                      RIDLEY-THOMAS. In the email, MRT
                                        Relative 1 told University Official 2
28
                                        that he/she wanted a “Practioner-in-
                                           31
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 32 of 35 Page ID #:32



1    COUNT        DATE                  WIRE TRANSMISSION
2                                       Residence” title for his/her
                                        professorship, “beginning
3                                       compensation” in the range of
                                        $25,000, and to “launch in January
4
                                        [2018].” Using his/her Google/Gmail
5                                       account, MRT Relative 1 sent the
                                        email to defendant RIDLEY-THOMAS at
6                                       his Oath/AOL account.
7    SEVEN        December 9, 2017      MRT Relative 1 forwarded an email
                                        from University Official 2 to
8
                                        defendant RIDLEY-THOMAS. In the
9                                       forwarded email, University Official
                                        2 told MRT Relative 1 that a January
10                                      2018 start date was not feasible and
                                        that University Official 2 would have
11                                      to “create a part-time position with
                                        a salary” to accommodate MRT Relative
12
                                        1. Using his/her Google/Gmail
13                                      account, MRT Relative 1 forwarded the
                                        email to defendant RIDLEY-THOMAS at
14                                      his Oath/AOL account.

15   EIGHT        December 14, 2017     Using his Oath/AOL account, defendant
                                        RIDLEY-THOMAS emailed defendant
16                                      FLYNN. The subject line had the name
17                                      of County Official 2. The email
                                        said: “[He/She]’s ready to go.
18                                      [winking face emoji][.]”

19   NINE         January 9, 2018       MRT Relative 1 forwarded an email
                                        regarding the full tuition
20                                      scholarship award to defendant
21                                      RIDLEY-THOMAS at his Oath/AOL
                                        account. The forwarded email stated
22                                      that MRT Relative 1 had been awarded
                                        a full tuition scholarship totaling
23                                      over $26,000 to attend the University
                                        in the spring and summer of 2018.
24

25   TEN          February 13, 2018     MRT Relative 1 forwarded an email to
                                        defendant RIDLEY-THOMAS. The
26                                      forwarded email indicated that the
                                        University had agreed to waive the
27                                      usual hiring process and that MRT
                                        Relative 1 would soon receive a
28                                      contract for the paid professorship.
                                           32
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 33 of 35 Page ID #:33



1    COUNT        DATE                  WIRE TRANSMISSION
2                                       Using his/her Google/Gmail account,
                                        MRT Relative 1 forwarded the email to
3                                       defendant RIDLEY-THOMAS at his
                                        Oath/AOL account.
4

5    ELEVEN       February 13, 2018     In response to the February 13th
                                        email from MRT Relative 1 about the
6                                       paid professorship, defendant RIDLEY-
                                        THOMAS emailed MRT Relative 1 with
7                                       thumbs up and winking face emojis:
                                        “     [.]” Using his Oath/AOL
8
                                        account, defendant RIDLEY-THOMAS
9                                       emailed MRT Relative 1 at his/her
                                        Google/Gmail account.
10
     TWELVE       February 13, 2018     Using his Oath/AOL account, defendant
11                                      RIDLEY-THOMAS emailed defendant
                                        FLYNN. The subject line was
12
                                        “Probation Reform motion.” Defendant
13                                      RIDLEY-THOMAS said, “[w]ould like to
                                        discuss this with you in the near
14                                      term.”

15   THIRTEEN     February 13, 2018     In response to defendant RIDLEY-
                                        THOMAS’s February 13th email
16
                                        regarding the “Probation Reform
17                                      motion,” defendant FLYNN emailed
                                        defendant RIDLEY-THOMAS at his
18                                      Oath/AOL account and said: “I had an
                                        excellent meeting last night with
19                                      [County Official 2] and [County
                                        Official 3].” Defendant FLYNN
20                                      thanked defendant RIDLEY-THOMAS “for
21                                      facilitating all these important
                                        relationships and opportunities.”
22
     FOURTEEN     February 23, 2018     Defendant FLYNN emailed defendant
23                                      RIDLEY-THOMAS at his Oath/AOL account
                                        about “an extremely important request
24                                      for contract amendment that will be
25                                      on the [Board of Supervisors’] agenda
                                        next week” regarding “our TeleHealth
26                                      contract with DMH.”

27

28

                                           33
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 34 of 35 Page ID #:34



1    COUNT        DATE                  WIRE TRANSMISSION
2    FIFTEEN      February 23, 2018     In response to defendant FLYNN’s
                                        February 23rd email regarding the
3                                       Telehealth-DMH contract amendment,
                                        defendant RIDLEY-THOMAS emailed
4
                                        defendant FLYNN and bcc’ed MRT
5                                       Relative 1. Defendant RIDLEY-THOMAS
                                        told defendant FLYNN: “Your wish is
6                                       my command.” Using his Oath/AOL
                                        account, defendant RIDLEY-THOMAS
7                                       emailed MRT Relative 1 at his/her
                                        Google/Gmail account.
8

9    SIXTEEN      May 3, 2018           Defendant RIDLEY-THOMAS emailed
                                        defendant FLYNN the bank wiring
10                                      information for Fiscal Sponsor B to
                                        facilitate the $100,000 payment from
11                                      the University to Fiscal Sponsor B.
                                        Defendant RIDLEY-THOMAS said: “At
12
                                        this point it is necessary to act
13                                      with dispatch so as to facilitate the
                                        completion of [Individual 1’s] on-
14                                      boarding with [Fiscal Sponsor B] in a
                                        timely manner -- no later than May
15                                      15th.” Using his Oath/AOL account to
                                        send the email to defendant FLYNN,
16                                      defendant RIDLEY-THOMAS also bcc’ed
17                                      MRT Relative 1 at his/her
                                        Google/Gmail account.
18
     SEVENTEEN    May 3, 2018           In response to defendant RIDLEY-
19                                      THOMAS’s May 3rd email, defendant
                                        FLYNN emailed defendant RIDLEY-THOMAS
20                                      at his Oath/AOL account and said: “I
21                                      will let people know that this must
                                        be expedited.”
22
     EIGHTEEN     May 11, 2018          Using his Oath/AOL account, defendant
23                                      RIDLEY-THOMAS emailed defendant FLYNN
                                        and said: “Want to talk master
24                                      [County] contract stuff and somehow
25                                      use yesterday’s ‘discussion’ to
                                        advance it.    [winking face
26                                      emoji][.]”

27

28

                                           34
     Case 2:21-cr-00485-DSF Document 1 Filed 10/13/21 Page 35 of 35 Page ID #:35



1    COUNT        DATE                  WIRE TRANSMISSION
2    NINETEEN     May 11, 2018          Bank wire transfer of $100,000 from a
                                        California Bank & Trust account for
3                                       the Mark Ridley-Thomas Committee for
                                        a Better L.A. into a Bank of America
4
                                        account for the University processed
5                                       through Bank of America servers
                                        located in Virginia and Texas.
6
     TWENTY       May 24, 2018          Bank wire transfer of $100,000 from a
7                                       Bank of America account for the
                                        University into a JPMorgan Chase Bank
8
                                        account for Fiscal Sponsor B
9                                       processed through Bank of America
                                        servers located in Virginia and
10                                      Texas.

11
                                                A TRUE BILL
12

13
                                                         /S/
14                                              Foreperson
15   TRACY L. WILKISON
16   Acting United States Attorney

17

18   SCOTT M. GARRINGER
     Assistant United States Attorney
19   Chief, Criminal Division

20   MACK E. JENKINS
     Assistant United States Attorney
21   Chief, Public Corruption
     and Civil Rights Section
22
     RUTH C. PINKEL
23   Assistant United States Attorney
     Senior Litigation Counsel
24   Acting Deputy Chief, Public Corruption
     and Civil Rights Section
25
     LINDSEY GREER DOTSON
26   Assistant United States Attorney
     Public Corruption
27   and Civil Rights Section

28

                                           35
